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           EXHIBIT D
8/1/22, 12:20 PM      Case 2:23-cv-00226-DJH Document     1-5
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       On Sat, Jun 4, 2022 at 10:06 PM Brian Colvin <brian.colvin@stavatti.com> wrote:
        Dear Valentino

         I hope this email finds you well. Since we are late returning your principal as planned, I wanted to write to you and
         provide you with our progress report. I've attached a letter which provides an update of where we are, and where
         we're going, and how soon (our timeline to repay you).

         Please review it and let me know if you have any questions, or comments. I look forward to hearing from you soon.

         Kindest regards,

         Brian D. Colvin

         PRESIDENT of STAVATTI AEROSPACE, LTD.

         CHAIRMAN & CEO of STAVATTI UAVS, LTD.


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         TEL: 307-620-7261
         email: Brian.Colvin@stavatti.com
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     2 attachments




                                                STAVATTI BofA March 2022.JPG
                                                96K




                                                STAVATTI BofA April 2022.JPG
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